        Case 19-34054-sgj11        Doc 3940         Filed 10/16/23     Entered 10/16/23 10:50:47           Desc
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 The following constitutes the ruling of the court and has the force and effect therein described.




Signed October 15, 2023
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §    Case No.: 19−34054−sgj11
                                                           §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
    The Court, having considered the Application for Admission Pro Hac Vice of Richard L. Wynne, to represent
John S. Dubel and Hon. Russell F. Nelms (Retired), related to document 3938, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
